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                               UNITED STATES JUDICIAL PANEL
                                            on                                            Apr 8 2025
                                MULTIDISTRICT LITIGATION

                                                                                           s/ JulieOlsen

 IN RE: POWERSCHOOL HOLDINGS, INC.,
 AND POWERSCHOOL GROUP, LLC CUSTOMER
 DATA SECURITY BREACH LITIGATION                                                          MDL No. 3149


                                         TRANSFER ORDER


         Before the Panel: * Plaintiffs in the Western District of Missouri J.I. action listed on
 Schedule A move under 28 U.S.C. § 1407 to centralize this litigation in the Western District of
 Missouri. This litigation consists of 32 actions pending in three districts, as listed on Schedule A.
 In addition, the parties have informed the Panel of 23 related actions pending in eight districts. 1
         Most responding parties support centralization. Defendants PowerSchool Holdings, Inc.,
 and PowerSchool Group LLC (collectively “PowerSchool”), and the responding plaintiffs in all
 but six cases support or do not oppose centralization. 2 There is less agreement on selection of the
 transferee district. PowerSchool requests centralization in the Eastern District of California or the
 Northern District of California. Plaintiffs in more than 30 actions likewise support centralization
 in those two districts, in the first instance or in the alternative. Other plaintiffs, as their primary or
 alternative position, request centralization the Western District of Missouri, Southern District of
 California, Central District of California, Northern District of Illinois, Eastern District of New
 York, Middle District of North Carolina, or District of Minnesota.
         On the basis of the papers filed and the hearing session held, we find that the actions listed
 on Schedule A involve common questions of fact, and that centralization in the Southern District
 of California will serve the convenience of the parties and witnesses and promote the just and
 efficient conduct of this litigation. These actions share factual questions arising from a recent
 cybersecurity incident involving unauthorized access to PowerSchool’s Student Information
 System software, which schools use to store current and former students’ and staff members’


 * Judge Roger T. Benitez did not participate in the decision of this matter. One or more Panel
 members who could be members of the putative classes in this litigation have renounced their
 participation in these classes and have participated in this decision.
 1
  These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
 and 7.2.

 2The six cases are the E.D. California Buack-Shelton, Vargha, Brown, and Greci actions listed on
 Schedule A, and the potential tag-along actions Joseph v. PowerSchool Holdings, Inc., No. 25-
 0517 (E.D. Cal.), and Hisserich v. PowerSchool Group LLC, No. 25-0444 (E.D. Cal.).
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 personal information. Plaintiffs are students, students’ guardians, and school staff seeking
 certification of overlapping nationwide and statewide class actions of individuals affected by the
 data breach. The actions involve virtually identical claims for negligence, breach of contract, and
 unjust enrichment. Discovery in all actions will focus on how and when the breach occurred, the
 sufficiency of PowerSchool’s data security practices, and how and when PowerSchool notified
 breach victims. Centralization will avoid the possibility of inconsistent pretrial rulings,
 particularly with respect to class certification. With a total of 55 cases pending in nine districts,
 centralization will provide efficiencies and conserve the resources of the parties, witnesses, and
 courts.
         Plaintiffs in the Eastern District of California Buack-Shelton, Vargha, Brown, and Greci
 actions, as well as plaintiffs in the Eastern District of California Joseph and Hisserich related
 actions, maintain that informal coordination is feasible. They argue that the 41 Eastern District of
 California cases will soon be consolidated before a single judge, effectively leaving only fourteen
 additional cases spread across eight other district courts. They maintain that the Panel previously
 has declined to centralize in comparable circumstances. 3
          We are not persuaded that informal coordination is the most efficient route to resolving this
 litigation. None of the parties have moved under Section 1404 to transfer the actions to a common
 district. Moreover, the decisions cited by opponents of centralization are readily distinguishable.
 In most, motions for transfer via Section 1404 had been filed; in some, such motions already had
 been granted. Three of the four involved fewer than five actions. See StockX, 412 F. Supp. 3d at
 1365 (denying centralization of three actions pending in three districts); [24]7.AI, 338 F. Supp. 3d
 at 1347 (same); Hudson’s Bay, 326 F. Supp. 3d at 1373 (denying centralization of four actions
 pending in two districts). In the lone case where the motion encompassed more than twenty
 actions, “all responding parties represented that they were amenable to Section 1404(a) transfer in
 the absence of Section 1407 centralization.” Best Buy, 804 F. Supp. 2d at 1378. Here, there is no
 similar assurance that any Section 1404 motions—if filed—will be uncontested.
         The Southern District of California is an appropriate transferee district for this litigation.
 A potential tag-along action is pending in the district, and related state court litigation is pending
 in San Diego Superior Court. Centralization in this district encourages the efficient coordination
 of state and federal proceedings. Judge Roger T. Benitez, to whom we assign this MDL, is an
 experienced jurist well-versed in the nuances of multidistrict litigation. We are confident that he
 will steer this litigation on a prudent and expeditious course.
        IT IS THEREFORE ORDERED that actions listed on Schedule A are transferred to the
 Southern District of California and, with the consent of that court, assigned to the Honorable Roger
 T. Benitez for coordinated or consolidated pretrial proceedings.



 3See, e.g., In re StockX Customer Data Sec. Breach Litig., 412 F. Supp. 3d 1363 (J.P.M.L. 2019);
 In re [24]7.AI, Inc., Customer Data Sec. Breach Litig., 338 F. Supp. 3d 1345 (J.P.M.L. 2018); In
 re Hudson’s Bay Co. Customer Data Sec. Breach Litig., 326 F. Supp. 3d 1372 (J.P.M.L. 2018); In
 re Best Buy Co., Cal. Song-Beverly Credit Card Act Litig., 804 F. Supp. 2d 1376 (J.P.M.L. 2011).
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                                PANEL ON MULTIDISTRICT LITIGATION




                                               Karen K. Caldwell
                                                   Chair

                             Nathaniel M. Gorton            Matthew F. Kennelly
                             David C. Norton                Dale A. Kimball
                             Madeline Cox Arleo
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 IN RE: POWERSCHOOL HOLDINGS, INC.,
 AND POWERSCHOOL GROUP, LLC CUSTOMER
 DATA SECURITY BREACH LITIGATION                                          MDL No. 3149


                                    SCHEDULE A

                  Eastern District of California

       BUACK-SHELTON, ET AL. v. POWERSCHOOL HOLDINGS, INC.,
               C.A. No. 2:25−00093
       BAKER v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25−00096
       KINNEY v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00098
       VARGHA v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00110
       F.C. v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25−00136
       GILES v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00139
       STRELZIN v. POWERSCHOOL GROUP, LLC ET AL., C.A. No. 2:25−00140
       A.A. v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25−00141
       E.H. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00152
       PETTINGER ET AL. v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25−00159
       MARTINEZ-TURNBOW v. POWERSCHOOL HOLDINGS, INC.,
               C.A. No. 2:25−00165
       CROCKRAN v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00171
       HABBAL ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00173
       MAYFEILD v. POWERSCHOOL GROUP, LLC, ET AL., C.A. No. 2:25−00203
       AREDE v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00204
       GRIFFIN v. POWERSCHOOL GROUP LLC, C.A. No. 2:25−00206
       WHITE v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00207
       GRECI ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00208
       LA COUNT ET AL. v. POWERSCHOOL HOLDINGS, INC. ET AL.,
               C.A. No. 2:25−00209
       KEIGLEY v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25−00210
       CHAMPNEY ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00211
       SCHWARTZ v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00230
       OKONI v. POWERSCHOOL GROUP, LLC ET AL., C.A. No. 2:25−00231
       FLICK ET AL. v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25−00232
       FAIRCLOTH v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25−00252
       BROWN ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00256
       ZARIF v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25−00259
       GRAMELSPACHER v. POWERSCHOOL HOLDINGS, INC. ET AL.,
               C.A. No. 2:25−00271
       CAMPBELL v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25−00310

                  Western District of Missouri

       KRUTSINGER v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 4:25−00057
       J.I. ET AL. v. POWERSCHOOL, C.A. No. 4:25−04006
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                   Eastern District of New York

       J.B. ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25−00327
